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                               NOTE: CHANGES MADE BY THE COURT
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                            UNITED STATES DISTRICT COURT
  8
                           CENTRAL DISTRICT OF CALIFORNIA
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 10
           ARROWHEAD CAPITAL                        Case No. 21-MC-0300-GW (JPRx)
 11
           FINANCE, LTD, Petitioner
 12                                                 STIPULATED PROTECTIVE
                      v.                            ORDER
 13
           PICTUREPRO, LLC, Respondent
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 17   1.      INTRODUCTION
 18           1.1    PURPOSES AND LIMITATIONS
 19           Discovery in this action may involve production of confidential, proprietary,
 20   or private information for which special protection from public disclosure and from
 21   use for any purpose other than prosecuting this litigation may be warranted.
 22   Accordingly, the Parties hereby stipulate to and petition the Court to enter the
 23   following Stipulated Protective Order. The Parties acknowledge that this Order
 24   does not confer blanket protections on all disclosures or responses to discovery and
 25   that the protection it affords from public disclosure and use extends only to the
 26   limited information or items that are entitled to confidential treatment under the
 27   applicable legal principles. The Parties further acknowledge, as set forth in Section
 28   12.3 below, that this Order does not entitle them to file Confidential Information
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  1   under seal; Civil Local Rule 79-5 sets forth the procedures that must be followed
  2   and the standards that will be applied when a Party seeks permission from the Court
  3   to file material under seal.
  4         1.2    GOOD CAUSE STATEMENT
  5         PICTUREPRO PROPOSED REQUEST:
  6         The documents and information to be provided by Respondent
  7   PicturePro LLC (“PPL”) are in response to a third party subpoena to PPL for,
  8   in connection with, and as part of, post-judgment enforcement and collection
  9   proceedings by Petitioner Arrowhead Capital Finance, Ltd. (“Arrowhead”) in,
 10   Arrowhead Capital Finance v. Seven Arts Entertainment et al, No. 14-cv-06512
 11   (SDNY 2016) (the “District Court Action”). Pursuant to that subpoena and
 12   this Court’s Orders, PPL is required to produce bank statements and other
 13   potentially sensitive documents, the public disclosure of which may cause
 14   competitive or other harm to PicturePro or its members. Thus, a protective
 15   order is warranted. This Protective Order does not apply to documents,
 16   portions thereof, or other information previously produced by PPL, in this
 17   Action or which have been or may be produced in any other litigation or
 18   proceeding, or which have become publicly known or publicly available.
 19   2.    DEFINITIONS

 20         2.1    Action: This pending action in this federal court bearing Case No. 21-
 21   MC-0300 and the action entitled Arrowhead Capital Finance v. Seven Arts
 22   Entertainment et al., No. 14-cv-06512 (S.D.N.Y. 2016) but the latter only to the
 23   extent the judges presiding in that action do not rule otherwise.
 24          2.2   Challenging Party: a Party or Nonparty that challenges the designation
 25   of information or items under this Order.
 26         2.3    “CONFIDENTIAL” Information or Items: information (regardless of
 27   how it is generated, stored, or maintained) or tangible things that qualify for
 28   protection under Federal Rule of Civil Procedure 26(c) and as specified above in the
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  1   Good Cause Statement. Any information designated HIGHLY
  2   CONFIDENTIAL requires a separate detailed showing of need and extreme
  3   potential harm. Generally, the “Highly Confidential” designation is limited to
  4   trade secrets.
  5          2.4    Counsel: Outside Counsel of Record and House Counsel (as well as
  6   their support staff).
  7          2.5    Designating Party: a Party or Nonparty that designates information or
  8   items that it produces in disclosures or in responses to discovery as
  9   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL.”
 10          2.6    Disclosure or Discovery Material: all items or information, regardless
 11   of the medium or manner in which it is generated, stored, or maintained (including,
 12   among other things, testimony, transcripts, and tangible things), that are produced or
 13   generated in disclosures or responses to discovery in this matter.
 14          2.7    Expert: a person with specialized knowledge or experience in a matter
 15   pertinent to the litigation who has been retained by a Party or its counsel to serve as
 16   an expert witness or as a consultant in this Action.
 17          2.8    House Counsel: attorneys who are employees of a Party to this Action.
 18   House Counsel does not include Outside Counsel of Record or any other outside
 19   counsel.
 20          2.9    Nonparty: any natural person, partnership, corporation, association, or
 21   other legal entity not named as a Party to this action.
 22          2.10 Outside Counsel of Record: attorneys who are not employees of a
 23   Party to this Action but are retained to represent or advise a Party and have appeared
 24   in this Action on behalf of that Party or are affiliated with a law firm that has
 25   appeared on behalf of that Party, including support staff.
 26          2.11 Party: any Party to this Action, including all of its officers, directors,
 27   employees, liquidators, consultants, retained experts, and Outside Counsel of
 28   Record (and their support staffs) and such Party’s successors or assigns.
                                                  3
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  1         2.12 Producing Party: a Party or Nonparty that produces Disclosure or
  2   Discovery Material in this Action.
  3         2.13 Professional Vendors: persons or entities that provide litigation
  4   support services (for example, photocopying, videotaping, translating, preparing
  5   exhibits or demonstrations, and organizing, storing, or retrieving data in any form or
  6   medium) and their employees and subcontractors.
  7         2.14 Protected Material: any Disclosure or Discovery Material that is
  8   designated as “CONFIDENTIAL or HIGHLY CONFIDENTIAL.”
  9         2.15 Receiving Party: a Party that receives Disclosure or Discovery
 10   Material from a Producing Party.
 11         2.16 Highly Confidential: any Disclosure or Discovery Material that is
 12   designated as “Highly Confidential” and is only to be reviewed by local counsel
 13   only. Such a designation is limited to those documents that contain highly private
 14   financial information the disclosure of which to others would likely result in serious
 15   harm to PPL .
 16   3.    SCOPE

 17         The protections conferred by this Stipulation and Order cover not only
 18   Protected Material (as defined above) but also any information copied or extracted
 19   from Protected Material; all copies, excerpts, summaries, or compilations of
 20   Protected Material; and any testimony, conversations, or presentations by Parties or
 21   their Counsel that might reveal Protected Material.
 22   4.    DURATION

 23                 Even after final disposition of this litigation, the confidentiality

 24   obligations imposed by this Order will remain in effect until a Designating Party
 25   agrees otherwise in writing or a court order otherwise directs. Final disposition is
 26   the later of (1) dismissal of all claims and defenses in this Action, with or without
 27   prejudice, or (2) final judgment after the completion and exhaustion of all appeals,
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  1   rehearings, remands, trials, or reviews of this Action, including the time limits for
  2   filing any motions or applications for extension of time under applicable law.
  3   5.    DESIGNATING PROTECTED MATERIAL

  4         5.1      Each Party or Nonparty that designates information or items for
  5   protection under this Order must take care to limit any such designation to specific
  6   material that qualifies under the appropriate standards. The Designating Party must
  7   designate for protection only those parts of material, documents, items, or oral or
  8   written communications that qualify so that other portions of the material,
  9   documents, items, or communications for which protection is not warranted are not
 10   swept unjustifiably within the ambit of this Order.
 11         Mass, indiscriminate, or routinized designations are prohibited. Designations
 12   that are shown to be clearly unjustified or that have been made for an improper
 13   purpose (for example, to unnecessarily encumber the case-development process or
 14   to impose unnecessary expenses and burdens on other parties) may expose the
 15   Designating Party to sanctions.
 16         If it comes to a Designating Party’s attention that information or items it
 17   designated for protection do not qualify for that level of protection, that Designating
 18   Party must promptly notify all other Parties that it is withdrawing the inapplicable
 19   designation.
 20         5.2      Except as otherwise provided in this Order, Disclosure or Discovery
 21   Material that qualifies for protection under this Order must be clearly so designated
 22   before the material is disclosed or produced.
 23         Designation in conformity with this Order requires the following:
 24         (a) for information in documentary form (for example, paper or electronic
 25   documents but excluding transcripts of depositions or other pretrial or trial
 26   proceedings), the Producing Party must affix at a minimum the legend
 27   “CONFIDENTIAL” to each page that contains Protected Material. If only a portion
 28   or portions of the material on a page qualify for protection, the Producing Party
                                                 5
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  1   must clearly identify the protected portion(s) (for example, by making appropriate
  2   markings in the margins).
  3                 A Party or Nonparty that makes original documents available for
  4   inspection need not designate them for protection until after the inspecting Party has
  5   indicated which documents it would like copied and produced. During the
  6   inspection and before the designation, all material made available for inspection
  7   must be treated as “CONFIDENTIAL.” After the inspecting Party has identified the
  8   documents it wants copied and produced, the Producing Party must determine which
  9   documents, or portions thereof, qualify for protection under this Order. Then,
 10   before producing the specified documents, the Producing Party must affix the
 11   “CONFIDENTIAL” legend to each page that contains Protected Material. If only a
 12   portion or portions of the material on a page qualify for protection, the Producing
 13   Party also must clearly identify the protected portion(s) (for example, by making
 14   appropriate markings in the margins).
 15         (b) for testimony given in depositions, the Designating Party must identify
 16   the Disclosure or Discovery Material that is protected on the record, before the close
 17   of the deposition.
 18         (c) for information produced in some form other than documentary and for
 19   any other tangible items, the Producing Party must affix in a prominent place on the
 20   exterior of the container or containers in which the information is stored the legend
 21   “CONFIDENTIAL.” If only a portion or portions of the information warrant
 22   protection, the Producing Party, to the extent practicable, must identify the protected
 23   portion(s).
 24         5.3     If timely corrected, an inadvertent failure to designate qualified
 25   information or items does not, standing alone, waive the Designating Party’s right to
 26   secure protection under this Order for that material. On timely correction of a
 27   designation, the Receiving Party must make reasonable efforts to assure that the
 28   material is treated in accordance with the provisions of this Order.
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  1   6.    CHALLENGING CONFIDENTIALITY DESIGNATIONS

  2         6.1      Any Party or Nonparty may challenge a designation of confidentiality
  3   at any time consistent with the Court’s scheduling order.
  4         6.2      The Challenging Party must initiate the dispute-resolution process (and,
  5   if necessary, file a discovery motion) under Local Rule 37.
  6         6.3      The burden of persuasion in any such proceeding is on the Designating
  7   Party. Frivolous challenges, and those made for an improper purpose (for example,
  8   to harass or impose unnecessary expenses and burdens on other parties), may expose
  9   the Challenging Party to sanctions. Unless the Designating Party has waived or
 10   withdrawn the confidentiality designation, all parties must continue to afford the
 11   material in question the level of protection to which it is entitled under the
 12   Producing Party’s designation until the Court rules on the challenge.
 13   7.    ACCESS TO AND USE OF PROTECTED MATERIAL

 14         7.1      A Receiving Party may use Protected Material that is disclosed or
 15   produced by another Party or by a Nonparty in connection with this Action only for
 16   prosecuting, defending, or attempting to settle this Action. Such Protected Material
 17   may be disclosed only to the categories of people and under the conditions described
 18   in this Order. When the Action has been terminated, a Receiving Party must comply
 19   with the provisions of Section 13 below (FINAL DISPOSITION).
 20         Protected Material must be stored and maintained by a Receiving Party at a
 21   location and in a manner sufficiently secure to ensure that access is limited to the
 22   people authorized under this Order.
 23         7.2      Unless otherwise ordered by the Court or permitted in writing by the
 24   Designating Party, a Receiving Party may disclose any information or item
 25   designated “CONFIDENTIAL” only to the following people:
 26               (a) the Receiving Party’s Outside Counsel of Record in this Action as well
 27   as employees of that Outside Counsel of Record to whom it is reasonably necessary
 28   to disclose the information for this Action;
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  1             (b) the officers, directors, liquidators and employees (including House
  2   Counsel) of the Receiving Party to whom disclosure is reasonably necessary for this
  3   Action;
  4             (c) Experts (as defined in this Order) of the Receiving Party to whom
  5   disclosure is reasonably necessary for this Action and who have signed the
  6   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
  7             (d) the Court and its personnel;
  8             (e) court reporters and their staff;
  9             (f) professional jury or trial consultants, mock jurors, and Professional
 10   Vendors to whom disclosure is reasonably necessary for this Action and who have
 11   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
 12             (g) the author or recipient of a document containing the information or a
 13   custodian or other person who otherwise possessed or knew the information;
 14             (h) during their depositions, witnesses and attorneys for witnesses to
 15   whom disclosure is reasonably necessary, provided that the deposing party requests
 16   that the witness sign the form attached as Exhibit A hereto and the witnesses will
 17   not be permitted to keep any confidential information unless they sign the form,
 18   unless otherwise agreed by the Designating Party or ordered by the Court. Pages of
 19   transcribed deposition testimony or exhibits to depositions that reveal Protected
 20   Material may be separately bound by the court reporter and may not be disclosed to
 21   anyone except as permitted under this Order; and
 22             (i) any mediator, arbitrator, or settlement officer, and their supporting
 23   personnel, mutually agreed on by any of the Parties engaged in settlement
 24   discussions or appointed by the Court.
 25   8.    PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN OTHER

 26   LITIGATION

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  1         If a Party is served with a subpoena or a court order issued in other litigation
  2   that compels disclosure of any information or items designated in this Action as
  3   “CONFIDENTIAL,” that Party must
  4             (a) promptly notify in writing the Designating Party. Such notification
  5   must include a copy of the subpoena or court order unless prohibited by law;
  6             (b) promptly notify in writing the party who caused the subpoena or order
  7   to issue in the other litigation that some or all of the material covered by the
  8   subpoena or order is subject to this Protective Order. Such notification must include
  9   a copy of this Order; and
 10             (c) cooperate with respect to all reasonable procedures sought to be
 11   pursued by the Designating Party whose Protected Material may be affected.
 12         If the Designating Party timely seeks a protective order, the Party served with
 13   the subpoena or court order should not produce any information designated in this
 14   action as “CONFIDENTIAL” before a determination on the protective-order request
 15   by the relevant court unless the Party has obtained the Designating Party’s
 16   permission. The Designating Party bears the burden and expense of seeking
 17   protection of its Confidential Material, and nothing in these provisions should be
 18   construed as authorizing or encouraging a Receiving Party in this Action to disobey
 19   a lawful directive from another court.
 20   9.    A NONPARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED IN THIS

 21   LITIGATION

 22             (a) The terms of this Order are applicable to information produced by a
 23   Nonparty in this Action and designated as “CONFIDENTIAL.” Such information is
 24   protected by the remedies and relief provided by this Order. Nothing in these
 25   provisions should be construed as prohibiting a Nonparty from seeking additional
 26   protections.
 27             (b) In the event that a Party is required by a valid discovery request to
 28   produce a Nonparty’s Confidential Information in its possession and the Party is
                                                  9
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   1   subject to an agreement with the Nonparty not to produce the Nonparty’s
   2   Confidential Information, then the Party must
   3                (1) promptly notify in writing the Requesting Party and the Nonparty
   4   that some or all of the information requested is subject to a confidentiality
   5   agreement with a Nonparty;
   6                (2) promptly provide the Nonparty with a copy of this Order, the
   7   relevant discovery request(s), and a reasonably specific description of the
   8   information requested; and
   9                (3) make the information requested available for inspection by the
  10   Nonparty, if requested.
  11             (c) If the Nonparty fails to seek a protective order within 21 days of
  12   receiving the notice and accompanying information, the Receiving Party may
  13   produce the Nonparty’s Confidential Information responsive to the discovery
  14   request. If the Nonparty timely seeks a protective order, the Receiving Party must
  15   not produce any information in its possession or control that is subject to the
  16   confidentiality agreement with the Nonparty before a ruling on the protective-order
  17   request. Absent a court order to the contrary, the Nonparty must bear the burden
  18   and expense of seeking protection of its Protected Material.
  19   10.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

  20         If a Receiving Party learns that by inadvertence or otherwise, it has disclosed
  21   Protected Material to any person or in any circumstance not authorized under this
  22   Order, the Receiving Party must immediately notify the Designating Party in writing
  23   of the unauthorized disclosures, use its best efforts to retrieve all unauthorized
  24   copies of the Protected Material, inform the person or people to whom unauthorized
  25   disclosures were made of the terms of this Order, and ask that person or people to
  26   execute the “Acknowledgment and Agreement to Be Bound” that is attached hereto
  27   as Exhibit A.
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   1   11.   INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE PROTECTED

   2   MATERIAL

   3         When a Producing Party gives notice to Receiving Parties that certain
   4   inadvertently produced material is subject to a claim of privilege or other protection,
   5   the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
   6   Procedure 26(b)(5)(B).
   7   12.   MISCELLANEOUS

   8         12.1 Nothing in this Order abridges the right of any person to seek its
   9   modification by the Court. Petitioner may seek a more broadly applicable protective
  10   order in the underlying litigation in New York if it so desires.
  11         12.2 By stipulating to the entry of this Order, no Party waives any right it
  12   otherwise would have to object to disclosing or producing any information or item
  13   on any ground not addressed in this Order. Similarly, no Party waives any right to
  14   object on any ground to use in evidence of any of the material covered by this
  15   Order.
  16         12.3 A Party that seeks to file under seal any Protected Material must
  17   comply with Civil Local Rule 79-5. Protected Material may be filed under seal only
  18   pursuant to a court order authorizing the sealing of the specific Protected Material at
  19   issue. If a Party's request to file Protected Material under seal is denied, then the
  20   Receiving Party may file the information in the public record unless otherwise
  21   instructed by the Court.
  22   13.   FINAL DISPOSITION

  23         After the final disposition of this Action as defined in paragraph 4, within 60
  24   days of a written request by the Designating Party, each Receiving Party must return
  25   all Protected Material to the Producing Party or destroy such material. As used in
  26   this subdivision, “all Protected Material” includes all copies, abstracts, compilations,
  27   summaries, and any other format reproducing or capturing any of the Protected
  28   Material. Whether the Protected Material is returned or destroyed, the Receiving
                                                  11
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   1   Party must submit a written certification to the Producing Party (and, if not the same
   2   person or entity, to the Designating Party) by the 60-day deadline that identifies (by
   3   category, when appropriate) all the Protected Material that was returned or
   4   destroyed and affirms that the Receiving Party has not retained any copies, abstracts,
   5   compilations, summaries, or any other format reproducing or capturing any of the
   6   Protected Material. Notwithstanding this provision, Counsel are entitled to retain an
   7   archival copy of all pleadings; motion papers; trial, deposition, and hearing
   8   transcripts; legal memoranda; correspondence; deposition and trial exhibits; expert
   9   reports; attorney work product; and consultant and expert work product even if such
  10   materials contain Protected Material. Any such archival copies that contain or
  11   constitute Protected Material remain subject to this Order as set forth in Section 4
  12   (DURATION).
  13   14.   SANCTIONS
  14         Any willful violation of this Order may be punished by civil or criminal
  15   contempt, financial or evidentiary sanctions, reference to disciplinary authorities, or
  16   other appropriate action at the discretion of the Court. In particular, improper
  17   designation of material as “Highly Confidential” will likely result in sanctions.
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  20   DATED: ___________                         ______________________________
                                                  Attorneys for Plaintiff [Petitioner]
  21

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  23   DATED: ___________                         ______________________________
                                                  Attorneys for Defendant [Respondent]
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   1   IT IS SO ORDERED.

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       DATED: October 26, 2021
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   5            ___________________________________________
                MAGISTRATE JUDGE JEAN P. ROSENBLUTH
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   1
                                             EXHIBIT A
   2             ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
   3

   4         I, _____________________________ [full name], of _________________
   5   [full address], declare under penalty of perjury that I have read in its entirety and
   6   understand the Stipulated Protective Order that was issued by the U.S. District Court
   7   for the Central District of California on [date] in the case of ___________ [insert
   8   case name and number]. I agree to comply with and to be bound by all terms of
   9   this Stipulated Protective Order, and I understand and acknowledge that failure to so
  10   comply could expose me to sanctions and punishment, including contempt. I
  11   solemnly promise that I will not disclose in any manner any information or item that
  12   is subject to this Stipulated Protective Order to any person or entity except in strict
  13   compliance with the provisions of this Order.
  14         I further agree to submit to the jurisdiction of the U.S. District Court for the
  15   Central District of California for the purpose of enforcing the terms of this
  16   Stipulated Protective Order, even if such enforcement proceedings occur after
  17   termination of this action. I hereby appoint __________________________ [full
  18   name] of _______________________________________ [full address and
  19   telephone number] as my California agent for service of process in connection with
  20   this action or any proceedings related to enforcement of this Stipulated Protective
  21   Order.
  22   Date: ______________________________________
  23   City and State where signed: _________________________________
  24

  25   Printed name: _______________________________
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  27   Signature: __________________________________
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